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 7

 8                                          UNITED STATES DISTRICT COURT
 9                                       CENTRAL DISTRICT OF CALIFORNIA
10
                                                )
11    Warner Bros. Home Entertainment Inc., )                             Case No.: CV13-0889 DMG (DTBx)
                                                )
12                           Plaintiff,         )                         ORDER GRANTING PLAINTIFF’S
                                                )                         REQUEST FOR AN
13          v.                                  )                         ENLARGEMENT OF TIME
                                                )                         WITHIN WHICH TO EFFECT
14    Amazon.com Sellers fastmedia; SECRET )                              SERVICE OF PROCESS
      SALE..; dealmakerz; ALLSEASONS;           )                         PURSUANT TO RULE 6(b) [8]
15    Forlines Warehouse; B&Wc; Cape            )
      Breton, and Does 1 through 10, inclusive, )
16                                              )
                             Defendants.        )
17

18
                The Court has read and considered all papers filed in connection with the Ex
19
      Parte Request for Enlargement of Time Within Which to Effect Service of Process
20
      Pursuant to Rule 6(b) (“the Application”) filed by Plaintiff Warner Bros. Home
21
      Entertainment Inc. (“Plaintiff”).
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      ///
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      ///
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      Warner Bros. v. Amazon.com Sellers fastmedia, et al.: Order   -1-
      Granting Ex Parte Request for Enlargement of Time
Case 2:13-cv-00889-DMG-DTB Document 10 Filed 03/26/13 Page 2 of 2 Page ID #:272



 1
                IT IS HEREBY ORDERED that the Application is granted and Plaintiff shall
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      have a ninety (90) day enlargement of time within which to serve Defendant with
 3
      Summons and Complaint, i.e., by June 25, 2013.
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 5
      Dated: March 26, 2013

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                                                                          ________________________________
                                                                          DOLLY M. GEE
 8                                                                        UNITED STATES DISTRICT JUDGE

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      Warner Bros. v. Amazon.com Sellers fastmedia, et al.: Order   -2-
      Granting Ex Parte Request for Enlargement of Time
